    Case 1:23-cr-00388-RDM Document 30-2 Filed 01/18/24 Page 1 of 3




                                          Exhibit 10

                                     Items Discovered at

                               Jason William WALLIS residence




Image 14, photograph of green tactical helmet seized at Wallis’ residence on October 30, 2023.
       Case 1:23-cr-00388-RDM Document 30-2 Filed 01/18/24 Page 2 of 3




Image 15, Photograph of an American flag neck gaiter seized at Wallis’ residence on October 30, 2023.
Case 1:23-cr-00388-RDM Document 30-2 Filed 01/18/24 Page 3 of 3




 Image 16, Photograph of gas mask seized at Wallis’ residence on October 30, 2023.
